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CaSe 07-25075 Filed 11/07/07 DOC 74

UNITED STATES BANKRUPTCY coURT
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EASTERN DISTRICT oF cALIFoRNIA 7JOJ 7 AM'U l
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Case No. 07-25075-B-l3J
In re:
D.C. NOS. PGM-l, PGM-2,
PPR-l
CASWELL JOHNSON and
DOROTHY JOHNSON Date: November 8, 2007
Time: 10:00 a.m.
Place: U.S. Courthouse
501 I Street
Courtroom 32

Sacramento CA 95814

Debtors.

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MEMORANDUM DECISION

This decision resolves three matters that the court
previously set for hearing on November 8, 2007 at 10:00 a.m.
before the Honorable David E. Russell. The three matters are the
debtors' motion to value the collateral of SN Servicing
Corporation/Christiana Bank and Trust Company (“Christiana”),
D.C. No. PGM-2, which was set for an evidentiary hearing on the
date and time set forth above following Christiana's opposition.
The debtors' unopposed motion to value the collateral of
Beneficial California Inc. (“Beneficial”), D.C. No. PGM-l, was
set for hearing with the motion to value Christiana's collateral
so that the court would not reach inconsistent results.
Christiana's objection to confirmation of the debtors' plan, D.C.
No. PPR-l, was set for hearing with the motion to value
Christiana's collateral because the resolution of the Christiana

objection was dependent on the outcome of that motion.

 

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On November l, 2007, Christiana withdrew its opposition to
the debtors' motion to value its Collateral. Therefore, in the
absence of any opposition, the debtors' motions to value the
collateral of Christiana and Beneficial pursuant to Fed. R.
Bankr. P. 3012 and ll U.S.C. § 506(a), are granted. For the
purposes of both motions, the creditors' collateral, real
property located at 1424 63rd Avenue, Sacramento, California
95822, had a value of $235,000.00 on the date of the petition.
Homecoming Financial LLC holds the first deed of trust against
the property with a balance of $244,381.26. Thus, $0.00 of
Christiana's claim on its second deed of trust is an allowed
secured claim and the balance of its claim is an allowed
unsecured claim, and $0.00 of Beneficial’s claim on its third
deed of trust is an allowed secured claim and the balance of its
claim is an allowed unsecured claim

Because the debtors' motion to value Christiana's collateral
has been granted, Christiana's objection to confirmation of the
plan is overruled. Christiana's objections to confirmation were
based on debtors' proposed treatment of its claim. Because
Christiana's allowed secured claim has been valued at $0.00, the
plan is sufficiently funded to pay the allowed secured claim, and
the debtors need not maintain post-petition payments to
Christiana. Valuing Christiana's allowed secured claim at $0.00
is not an impermissible modification of the debtors' obligation
to Christiana. See Nobleman v. American Savinqs Bank, 508 U.S.

324 (1993); In re Lam, 211 B.R. 36 (9th Cir. BAP 1997).

 

 

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Christiana's request for dismissal of this case is denied.
Christiana has not cited any authority for dismissal of the case.
A failure to cite the legal authority relied upon by the filing
party is grounds for denial of the request. LBR 9014-l(d)(5),
(l).

Because Christiana's objection to confirmation is overruled,
confirmation of the debtors' plan filed on July 2, 2007 is
granted. In the absence of any further opposition, the court
finds that the plan complies with 11 U.S.C. §§ 1322(a) & (b),
l323(c), and 1325(a).

As to the debtors' motions to value collateral and
Christiana's objection to confirmation, the court will issue
separate orders consistent with the foregoing ruling. Counsel
for the debtors shall also submit an order confirming the plan
using EDC form 3-081-03 (Rev. 7/1/03) that conforms to the
foregoing ruling and which has been approved by the trustee. The
title of the order shall include a specific reference to the

filing date of the amended plan.

Dated:' NOV -6 m

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Thomas C. Holman
United States Bankruptcy Judge

 

 

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

CERTIFICATE OF MAILING

The undersigned deputy clerk in the office of the United
States Bankruptcy Court for the Eastern District of California
hereby certifies that a copy of the document to which this
certificate is attached was mailed today to the following
entities listed at the address shown on the attached list or
shown below.

Caswe|| Earl Joh'nson . ` Dorthy-J`. Johnson : _ , Peter G._ Maca|uso y

1424 63rd Ave ' 1424 63rd'Ave 1 - z 910 F|orin Rd'#1_11

Sacramento, CA 95822 ‘ Sac_ra_mento, CA 95822 ' Sacramento; CA 95831-3569

Jan P Johnson _ Cassandra-J. Richey _ US_ Trustee .

PO Box 1708 .; ' ' 20750 Ventur."=\l B|vd #100 ` 501 | St _#_7- 500

Sa'cramento, _CA 95812 ' PO Box 4365 ' " ' Sa_cramento CA 9581'.4\ _
`VVoodbnd|ims,CA' ' ` ` ' » '
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oATED: -11/'7/071’ ' By:i/Mf%%b

&puty Clerk

EDC 3-070 (New 4/21/00)

